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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
-----------------------------------------------------------------------X
MINHYE PARK,                                                               Index No.: 1:20-cv-02636

                                   Plaintiff,                              ANSWER

        -against-
                                                                           TRIAL BY JURY
DAVID DENNIS KIM, M.D.,                                                    DEMANDED

                                    Defendant.
-----------------------------------------------------------------------X

                 Defendant DAVID DENNIS KIM, M.D., by his attorneys, HEIDELL, PITTONI,

MURPHY & BACH, LLP, upon information and belief, answers the Complaint herein as

follows:

                           AS AND TO “PRELIMINARY STATEMENT”

                 FIRST: Denies knowledge or information sufficient to form a belief as to the

allegations contained in the paragraph of the complaint designated “1” except admits that at

times not specifically referenced in the Complaint, Defendant provided treatment to Plaintiff in

accordance with the standard of care and otherwise begs leave to refer all questions of law to the

court and all questions of fact to the trier thereof.

                                     AS AND TO “JURISDICTION”

                 SECOND: Denies knowledge or information sufficient to form a belief as to the

allegations contained in the paragraphs of the complaint designated “2” and “3” and otherwise

begs leave to refer all questions of law to the court and all questions of fact to the trier thereof.

                                          AS AND TO “VENUE”

                 THIRD: Denies knowledge or information sufficient to form a belief as to the

allegations contained in the paragraph of the complaint designated “4” and otherwise begs leave

to refer all questions of law to the court and all questions of fact to the trier thereof.

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                                 AS AND TO “JURY DEMAND”

                FOURTH: There are two paragraphs numbered “5” in the Complaint but in

response to Plaintiff’s first paragraph “5,” the Answering Defendant respectfully demands trial

by jury on any issue triable of right by a jury pursuant to Fed. R. Civ. P. 38(b).

                                  AS AND TO “THE PARTIES”

                FIFTH: Denies knowledge or information sufficient to form a belief as to the

allegations contained in the paragraphs of the complaint in response to Plaintiff’s second

paragraph“5” and paragraph“6” and otherwise begs leave to refer all questions of law to the

court and all questions of fact to the trier thereof.

                          AS AND TO “GENERAL ALLEGATIONS”

                SIXTH: Denies the allegations contained in the paragraphs of the complaint

designated “7,” “8,” “9,” “10,” and “11”, except admits that at certain times not specifically set

forth in the Complaint, the Answering Defendant was and is a Board certified physician duly

licensed to practice medicine in the State of New York whose office is located at 143-16 Sanford

Avenue, Flushing, NY 11355 and otherwise begs leave to refer all questions of law to the court

and all questions of fact to the trier thereof.

                SEVENTH: Denies the allegations contained in the paragraphs of the complaint

designated “12,” “13,” “14,” and “15” except admits that at certain times not specifically set

forth in the Complaint, the Answering Defendant rendered certain professional services to and

for the Plaintiff in accordance with accepted standards of care and otherwise begs leave to refer

all questions of law to the court and all questions of fact to the trier thereof.

                EIGHTH: Denies the allegations contained in the paragraphs of the complaint

designated “16,” “17,” and “18”.



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                NINTH: Denies knowledge or information sufficient to form a belief as to the

allegations contained in the paragraph of the complaint designated “19” and otherwise begs leave

to refer all questions of law to the court and all questions of fact to the trier thereof.

                TENTH: Denies the allegations contained in the paragraphs of the complaint

designated “20,” “21,” and “22.”

                ELEVENTH: The allegations in paragraphs “23” and “24” contain legal

conclusions to which no answer is required and the defendant otherwise begs leave to refer all

questions of law to the court and all questions of fact to the trier thereof.

                         AS AND TO THE FIRST CAUSE OF ACTION

                TWELFTH: Answering the paragraph of the complaint designated “25,” the

Answering Defendant repeats and realleges each and every denial and admission in answer to the

paragraphs of the complaint designated “1” through “24” with the same force and effect as if

herein set forth at length.

                THIRTEENTH: Denies knowledge or information sufficient to form a belief as

to the allegations contained in the paragraph of the complaint designated “26” and otherwise

begs leave to refer all questions of law to the court and all questions of fact to the trier thereof.

                FOURTEENTH: Denies the allegations contained in the paragraphs of the

complaint designated “27,” “28,” and “29”.

                       AS AND TO THE SECOND CAUSE OF ACTION

                FIFTEENTH: Answering the paragraph of the complaint designated “30,” the

Answering Defendant repeats and realleges each and every denial and admission in answer to the

paragraphs of the complaint designated “1” through “29” with the same force and effect as if

herein set forth at length.



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                  SIXTEENTH: Denies the allegations contained in the paragraphs of the

complaint designated “31,” “32,” and “33”.

                                    FOR A FIRST DEFENSE

                  SEVENTEENTH: The court does not have jurisdiction over the defendant

because defendant was not properly served with a copy of the summons and complaint due to

insufficient process.

                                   FOR A SECOND DEFENSE

                  EIGHTEENTH: The court does not have jurisdiction over the defendant because

defendant was not properly served with a copy of the summons and complaint due to insufficient

service of process.

                                    FOR A THIRD DEFENSE

                  NINETEENTH: That this action was not commenced against defendant until

after the expiration of the time period specified in the applicable statute of limitations and any

recovery based on the alleged causes of action herein is barred.

                                   FOR A FOURTH DEFENSE

                  TWENTIETH: That the equitable share of liability, if any, of defendant DAVID

DENNIS KIM, M.D. shall be determined pursuant to the provisions of Article 16 of the CPLR.

                                    FOR A FIFTH DEFENSE

                  TWENTY-FIRST: That one or more of the causes of action in the complaint fail

to state a cause of action upon which relief may be granted.

                                    FOR A SIXTH DEFENSE

                  TWENTY-SECOND: That this defendant reserves the right to amend his

answers and/or affirmative defenses that may be determined applicable in the future by discovery

in this matter.

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                                 FOR A SEVENTH DEFENSE

               TWENTY-THIRD: Plaintiff has failed to mitigate her alleged damages claimed

herein.

                                  FOR A EIGHTH DEFENSE

               TWENTY-FOURTH: This action is barred or defendant is entitled to a set-off

against any award herein as plaintiffs have previously recovered sums for all or part of the

damages claimed herein.

                                   FOR A NINTH DEFENSE

               TWENTY-FIFTH: The amount of alleged damages claimed by plaintiff should

be reduced pursuant to CPLR §4545 to the extent of any collateral source benefits, remuneration

or compensation received.

                                       FOR A TENTH DEFENSE

               TWENTY-SIXTH: That as to the cause of action in the Complaint alleging lack

of informed consent, Defendant pleads the defenses in New York State Public Health Law §

2805-d.

                                       FOR AN ELEVENTH DEFENSE

               TWENTY-SEVENTH: That the Complaint was served in contravention of CPLR

§ 3012-a and is therefore a nullity.

                                        FOR A TWELFTH DEFENSE

               TWENTY-EIGHTH: That whatever damages may have been sustained at the

time and place alleged in the complaint by plaintiff were caused, in whole or in part, by the

culpable conduct of plaintiff and without any negligence on the part of defendant. Damages, if

any, are to be diminished proportionally to the culpable conduct of the plaintiff.



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                               FOR A THIRTEENTH DEFENSE

               TWENTY-NINTH: That the Answering Defendant denies any and all allegations

of plaintiff’s complaint not specifically admitted herein.

               WHEREFORE, defendant DAVID DENNIS KIM, M.D. demands judgment

dismissing the complaint herein, together with the costs and disbursements of this action.

Dated: White Plains, New York
       October 22, 2020

                                              Yours, etc.,

                                              HEIDELL, PITTONI, MURPHY & BACH, LLP



                                              By:     ______________________________
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                                                      Attorneys for Defendant
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